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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

CHARLESTON DIVISION F L E D
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UNITED STATES OF AMERICA, sear onal

Plaintiff | __Soutnem distnet 5} West Viginia
v. CRIMINAL ACTION NO, 2:24-cr-00179
DEANNA L. DRUMM,

Defendant.

WRITTEN PLEA OF GUILTY

In the presence of Gerald M. Titus, II], my counsel, who has fully explained the charge
contained in the Information against me, and having received a copy of the Information before

being called upon to plead, I hereby plead guilty to the charge contained in the Information.

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DEFENDANT

WITNESS:

“COUNSEL FOR DEFENDANT
